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                                                         Exhibit A to the Complaint
Location: Stratford, CT                                                                                 IP Address: 173.220.200.138
Total Works Infringed: 29                                                                               ISP: Optimum Online
 Work         Hash                                         UTC               Site          Published        Registered       Registration
 1            4ED2350365BDA4C8207A8CCEDBC81B0340E58ABC     03/10/2019        Blacked Raw   02/16/2019       03/11/2019       PA0002158595
                                                           14:02:53
 2            051A52EFFAA41578BB5F4F7EDE4827997D21BC4C     08/01/2018        Vixen         07/23/2018       09/05/2018       PA0002135670
                                                           14:25:48
 3            05A7B52E88CC9418AD100770A8B91C7FCBB1C243     05/28/2018        Blacked Raw   04/22/2018       05/24/2018       PA0002101381
                                                           13:37:23
 4            132E0782A298ADD3C5CDAA3B0AD3072B3E13BB95     03/10/2019        Blacked Raw   02/26/2019       03/31/2019       PA0002163980
                                                           11:53:20
 5            1ED7894C730F91D284F9451A87ECDC8F5187BF50     06/03/2018        Blacked Raw   05/12/2018       05/24/2018       PA0002101380
                                                           15:58:20
 6            209ADEA84CE0566D845611964D4E17054104ACA5     09/15/2018        Tushy         08/29/2018       10/16/2018       PA0002127775
                                                           11:16:53
 7            22090FF3F5A86A9D9C1037E959193A0D2E8DF88C     02/10/2018        Blacked Raw   01/27/2018       03/02/2018       PA0002104873
                                                           17:02:05
 8            3AC085445643E065B2D6E0729C5CCA39C38EB0F7     12/15/2018        Blacked Raw   12/08/2018       12/18/2018       PA0002141919
                                                           14:18:34
 9            3E770665FF14213C98B2746B028AE2F335C6569B     11/03/2017        Blacked       11/01/2017       11/27/2017       PA0002098034
                                                           12:01:00
 10           41C62207ADF0D03D82414693BAA46DB231130B94     01/10/2018        Tushy         11/12/2017       11/30/2017       PA0002098037
                                                           15:19:13
 11           43E0D25E70530A6C6837D3E3EBC16B958F2E24AC     04/08/2018        Blacked Raw   03/28/2018       04/12/2018       PA0002091513
                                                           15:48:24
 12           4CB998506766F8F138B2C5042D4A5355D70B229D     10/27/2017        Blacked Raw   10/24/2017       11/30/2017       PA0002098011
                                                           11:59:52
 13           4FD530AFCD695ED8E130447A426E45259006C41E     11/03/2017        Tushy         10/28/2017       12/04/2017       PA0002098014
                                                           12:28:03
 14           5B1F17D1471204648826D120F6E497D42524C839     01/12/2019        Vixen         05/04/2018       06/19/2018       PA0002126680
                                                           17:43:45
 15           739EB8A76A0350F7CA58F6464551E732BCED35C1     11/09/2017        Blacked Raw   11/03/2017       12/04/2017       PA0002098024
                                                           12:59:16
 16           73F33BDDD94B5889A8E8758E88B3D09B30F3525E     05/28/2018        Blacked Raw   05/07/2018       06/19/2018       PA0002126670
                                                           13:09:52
 17           785CDFDBD2818F181DF55860F6750AD9F1784C27     03/24/2019        Vixen         03/15/2019       04/08/2019       PA0002164872
                                                           11:39:42
                           Case 3:19-cv-00780 Document 1-1 Filed 05/21/19 Page 2 of 2
Work   Hash                                     UTC          Site          Published    Registered   Registration
18     7B57FCC04E365EC8AFA37E1EEDD1AEC885BB92B3 12/21/2017   Blacked       12/06/2017   01/04/2018   PA0002097418
                                                13:41:43
19     981535480433042862560A17C31FDF7BFC937CA2 06/04/2017   Blacked       05/25/2017   06/22/2017   PA0002039290
                                                13:21:42
20     A7B696A97C4BEA852C86BF8A9BEA96CB4C9A3B10 06/01/2018   Blacked Raw   05/22/2018   07/14/2018   PA0002128073
                                                13:44:16
21     A827B61B71B5F572AFF3A7E16BBA64710DF9E983 01/12/2019   Vixen         12/20/2017   01/15/2018   PA0002099694
                                                17:35:38
22     AA9ED9DD3EFDAACDB6CD24D4F7D42F7DA848DE20 05/25/2017   Blacked       04/25/2017   06/15/2017   PA0002037576
                                                13:01:06
23     AE239D62AECAF3E11B72744CA93C44F09BAECD9C 02/22/2018   Blacked Raw   02/11/2018   03/02/2018   PA0002104740
                                                19:04:10
24     B0FE13ECF5F84AEAC8C53B134AC336CFB843CF0D 11/05/2017   Blacked       10/27/2017   11/27/2017   PA0002098016
                                                17:44:05
25     BF0780F2FFDA83874CCA51107D499AED2E52AD92 12/21/2017   Blacked Raw   12/08/2017   01/02/2018   PA0002097423
                                                13:23:22
26     D7FF2A6B26A8EB9B131FD59C812EAEAE049D7C8C 01/13/2019   Vixen         04/04/2018   04/17/2018   PA0002116740
                                                15:16:53
27     E8FDE02B470854F96FE03570C920B30F274A14E2 08/23/2018   Tushy         08/14/2018   09/01/2018   PA0002119587
                                                11:38:40
28     FD802FEC62F3CCA171872B3588DFB464F9217C69 05/25/2017   Blacked       05/20/2017   06/22/2017   PA0002039289
                                                13:01:11
29     FE02F2A21D11DA6DDD57334B205EE6AAC2A01263 01/12/2019   Vixen         01/04/2018   01/15/2018   PA0002070947
                                                17:36:57
